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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA

              Plaintiff,

v.                                                       Case No. 04-80545

RICHARD LEON DRAGOS,                                     Honorable Patrick J. Duggan

              Defendant.
                                          /

       OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR
              SUPPRESSION OF EVIDENCE [STATEMENT]

                           At a session of said Court, held in the U.S.
                            District Courthouse, Eastern District of
                               Michigan, on November 17, 2005.

              PRESENT: THE HONORABLE PATRICK J. DUGGAN
                       U.S. DISTRICT COURT JUDGE

       Defendant Richard Dragos (“Defendant”) is charged in this case with the

following counts: possession of a stolen firearm, in violation of 18 U.S.C. § 922(j);

possession of firearms in furtherance of a drug trafficking crime, in violation of 18 U.S.C.

§ 924(c)(1)(A); and possession of cocaine-base with intent to distribute, in violation of 21

U.S.C. § 841(a)(1). Presently before the Court is Defendant’s motion to suppress the

statement he made to police officers following his arrest on June 4, 2004. Defendant

asserts that he was under the influence of drugs and alcohol since early in the day on June

4, and therefore could not knowingly and intelligently waive his rights pursuant to

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Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602 (1966). Defendant alternatively seeks

suppression of his statement, claiming it was the fruit of an unlawful search of his home.1

A hearing on Defendant’s motion was held on November 15, 2005. For the reasons that

follow, the Court denies Defendant’s request for suppression of his statement.

                               Applicable Law and Analysis

       The prosecution bears the burden of establishing the admissibility of a confession.

It must demonstrate both a valid Miranda waiver and the voluntariness of an inculpatory

statement. Defendant does not claim that the officers did not provide him Miranda

warnings. Defendant contends, however, that his confession was not voluntary because he

was under the influence of drugs and alcohol and therefore could not knowingly and

intelligently waive his Miranda rights.

       The Sixth Circuit has identified three conditions that must be present for a due

process claim of involuntary confession to succeed:

              Threshold to the determination that a confession was
              “involuntary” for due process purposes is the requirement that
              the police “extorted [the confession] from the accused by
              means of coercive activity.” . . . Once it is established that the
              police activity was objectively coercive, it is necessary to
              examine petitioner’s subjective state of mind to determine
              whether the “coercion” in question was sufficient to overbear
              the will of the accused . . . Finally, petitioner must prove that
              his will was overborne because of the coercive police activity
              in question. If the police misconduct at issue was not the
              “crucial motivating factor” behind petitioner’s decision to
              confess, the confession may not be suppressed . . .



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        The Court previously rejected Defendant’s claim that the search of his residence on June
4, 2004, was unlawful. See 7/25/05 Order Denying Motion to Suppress Evidence.

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McCall v. Dutton, 863 F.2d 454, 459 (6th Cir. 1988)(emphasis in original)(internal

citations omitted). As the Supreme Court explained in Colorado v. Connelly, 479 U.S.

157, 167, 107 S. Ct. 515, 522 (1986), “coercive police activity is a necessary predicate to

the finding that a confession is not ‘voluntary’ within the meaning of the Due Process

Clause of the Fourteenth Amendment.”

       Thus in Connelly, where the defendant later diagnosed as suffering from a

psychosis that interfered with his ability to make free and rational choices approached a

police officer and insisted on confessing to a murder, the Court concluded that the

confession was voluntary absent coercive police activity. The Connelly Court reasoned:

              [T]he sole concern of the Fifth Amendment, on which
              Miranda was based, is governmental coercion . . . Indeed, the
              Fifth Amendment privilege is not concerned “with moral and
              psychological pressures to confess emanating from sources
              other than official coercion.” . . . The voluntariness of a
              waiver of this privilege has always depended on the absence
              of police overreaching, not on “free choice” in any broader
              sense of the word . . . “The relinquishment of the right must
              have been voluntary in the sense that it was the product of a
              free and deliberate choice rather than intimidation, coercion
              or deception . . .”

Id. at 170, 107 S. Ct. at 523. As the Sixth Circuit subsequently explained, “[e]vidence

that a defendant suffered, at the relevant time, from a condition or deficiency that

impaired his cognitive or volitional capacity is never, by itself, sufficient to warrant the

conclusion that his confession was involuntary for purposes of due process; some element

of police coercion is always necessary.” United States v. Newman, 889 F.2d 88, 94 (6th

Cir. 1989)(citation omitted). Instead, the defendant’s cognitive or volitional capacity only

is relevant in evaluating his or her subjective state of mind to determine whether the

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coercion in question was sufficient to overbear the defendant’s will. Thus the Sixth

Circuit has found a defendant’s confession to be voluntary, despite the defendant’s

intoxication from alcohol or medication, where there was no evidence of coercive police

activity. See, e.g., Newman, 889 F.2d at 95 (holding that the defendant’s alcoholism,

absent evidence that his confession or waiver of rights was in any way attributable to the

misconduct of the FBI agents, did not require suppression of the defendant’s confession);

United States v. Treadwell, No. 99-6548, 2001 WL 599709, at *9 (6th Cir. May 24,

2001)(unpublished op.)(upholding district court’s denial of the defendant’s suppression

motion because, although the defendant voluntary ingested an intoxicating medication in

a dose more than five times that prescribed by state physicians, there was “no evidence

that the agents engaged in coercive activity of any sort or that they knew of his

supposedly weakened mental state and chose to exploit it”); Marcum v. Knight, No. 89-

6192, 1991 WL 1106 (6th Cir. Jan. 8, 1991)(unpublished op.)(upholding denial of the

defendant’s motion to suppress her confession to police officers based on the defendant’s

claim that she was too intoxicated to make a voluntary statement or validly waive her

Miranda rights, in the absence of coercive police activity).

       At the hearing on November 15, 2005, the Government called Special Agent

Joseph Nether, who testified that he read Defendant his Miranda rights, Defendant

waived his Miranda rights, and Defendant then knowingly and voluntarily signed a

written inculpatory statement. Agent Nether testified that, in his judgment, Defendant

was not influenced by the consumption of alcohol or drugs and was able to fully

understand his Miranda rights. Agent Nether further testified that Defendant understood

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the questions he was being asked and the answers he gave to Agent Nether, which Agent

Nether wrote down and Defendant acknowledged.

       Two witnesses testified on behalf of Defendant: his sister Susan Helton and his

friend Ronald Derus. In this Court’s opinion, because Ms. Helton only conversed with

Defendant by telephone, she was not able to give competent testimony as to whether or

not Defendant was under the influence of alcohol or drugs when he was questioned by

Agent Nether. Mr. Derus was at the party in Defendant’s backyard when the police

officers arrived. Mr. Derus testified that whenever he observed Defendant, Defendant

had a drink in his hand and, in his view, Defendant was “drunk.” Mr. Derus also testified,

however, that Defendant has a great tolerance for alcohol and often is able to function in a

normal manner even after consuming a great deal of alcohol. Mr. Derus was not present

during Agent Nether’s questioning of Defendant and, in this Court’s opinion, his

testimony is not sufficient to refute Agent Nether’s testimony as to the circumstances

surrounding his questioning of Defendant. Having listened to the testimony of the

witnesses, the Court is satisfied that Defendant was not affected by the consumption of

alcohol or drugs so that the “voluntariness” of his confession was affected. In other

words, this Court is not satisfied that Defendant was so intoxicated that he was unable to

waive his Miranda rights and knowingly and voluntarily provide information to Agent

Nether.

       Furthermore, even if Defendant’s intoxication affected his ability to knowingly

and intelligently waive his rights pursuant to Miranda and to knowingly and voluntarily

provide a statement to Agent Nether, such voluntary intoxication would not, in and of

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itself, result in an involuntary confession. Defendant does not allege that the police

engaged in any coercive activity. As set forth above, absent evidence of coercive police

activity, Defendant cannot establish that his statement was involuntary.

       Accordingly,

       IT IS ORDERED, that Defendant’s motion for suppression of evidence is

DENIED.


                                          s/PATRICK J. DUGGAN
                                          UNITED STATES DISTRICT JUDGE
Copies to:
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